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                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                                        Plaintiff,

v.                                                          Case No. 6:21-cv-1215-HLT-KGG

$165,620.00 IN U.S. CURRENCY,
More or less,

                                        Defendant,

and

EMPYREAL ENTERPRISES, LLC,

                                        Claimant.



                                               SCHEDULING ORDER

          On January 4, 2022, in accordance with Fed. R. Civ. P. 16, the undersigned U.S.

Magistrate Judge, Kenneth G. Gale, conducted a scheduling conference in this case with

the parties.1 Plaintiff appeared through counsel, Colin Wood. Claimant appeared through

counsel, Tom Lemon.

          After consultation with the parties, the Court enters this scheduling order:




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        As used in this scheduling order, the term “plaintiff” includes plaintiffs as well as
counterclaimants, cross-claimants, third-party plaintiffs, intervenors, and any other parties
who assert affirmative claims for relief. The term “claimant” includes defendants as well
as counterclaim defendants, cross-claim defendants, third-party defendants, and any other
parties who are defending against affirmative claims for relief.
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       1.     Alternative Dispute Resolution (ADR).

       After discussing ADR during the scheduling conference, the Court has determined

that settlement of this case potentially would be enhanced by use of early mediation.

Toward that end, Plaintiff must submit a good-faith settlement proposal to Claimant by

February 11, 2022. Claimant must make a good-faith counter-proposal by March 4, 2022.

By March 18, 2022, unless the parties have jointly filed a notice stating the full name,

mailing address, and telephone number of the person whom they have selected to serve as

mediator, along with the firmly scheduled date, time, and place of mediation, each party

must submit a confidential settlement report by e-mail to the undersigned U.S. Magistrate

Judge (but not the presiding U.S. District Judge). These reports must briefly set forth the

parties’ settlement efforts to date, current evaluations of the case, views concerning future

settlement negotiations, the overall prospects for settlement, and a specific

recommendation regarding mediation or any other ADR method. If the parties cannot agree

on a mediator and any party wishes the court to consider a particular mediator or other

ADR neutral, then up to three nominations may be provided in the confidential settlement

reports; such nominations must include a statement of the nominee’s qualifications and

billing rates, and confirmation that the nominee already has pre-cleared all ethical and

scheduling conflicts. These reports must not be filed with the Clerk’s Office. An ADR

report must be filed by defense counsel within 14 days of any scheduled ADR process,

using the form located on the court’s website:

        http://ksd.uscourts.gov/wp-content/uploads/2015/10/adrreportrev20141.pdf

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2.     Discovery.

       a.     All discovery in this case must be commenced or served in time to be

completed by May 20, 2022. Under recent amendments to the Federal Rules of Civil

Procedure, the Court respectfully reminds the parties and counsel that they are entitled to

obtain pretrial discovery regarding any nonprivileged matter provided it’s (a) relevant to a

party’s claim or defense, AND (b) proportional to the needs of this case. Under Fed. R.

Civ. P. 26(b)(1), whether any particular discovery request is proportional is to be

determined by considering, to the extent they apply, the following six factors: (1) the

importance of the issues at stake in the action, (2) the amount in controversy, (3) the parties’

relative access to relevant information, (4) the parties’ resources, (5) the importance of the

discovery in resolving the issues, and (6) whether the burden or expense of the proposed

discovery outweighs its likely benefit.

       b.     If expert testimony is used in this case, disclosures required by Fed. R. Civ.

P. 26(a)(2), including reports from retained experts, must be served by Plaintiff by

February 11, 2022, and by Claimant by February 25, 2022; disclosures and reports by

any rebuttal experts must be served by March 18, 2022. The parties must serve any

objections to such disclosures (other than objections pursuant to Fed. R. Evid. 702-705,

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), Kumho Tire Co. v.

Carmichael, 526 U.S. 137 (1999), or similar case law), within 14 days after service of the

disclosures. These objections should be confined to technical objections related to the

sufficiency of the written expert disclosures (e.g., whether all of the information required

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by Rule 26(a)(2)(B) has been provided) and need not extend to the admissibility of the

expert’s proposed testimony. If such technical objections are served, counsel must confer

or make a reasonable effort to confer consistent with D. Kan. Rule 37.2 before filing any

motion based on those objections.

       c.     The parties agree that physical or mental examinations pursuant Fed. R. Civ.

P. 35 are not appropriate in this case.

       d.     The Court considered the following discovery problem(s) raised by one or

more of the parties: None.

       e.     Consistent with the parties’ agreements as set forth in their planning

conference report, electronically stored information (ESI) in this case will be handled as

follows:

       The parties are unaware of any ESI, but should any be discovered, the parties have

agreed to make hard copies to exchange.

       f.     Consistent with the parties’ agreements as set forth in their planning

conference report, claims of privilege or of protection as trial-preparation material asserted

after production will be handled as follows: None at this time.

       g.     To encourage cooperation, efficiency, and economy in discovery, and also to

limit discovery disputes, the court adopts as its order the following procedures agreed to

by parties and counsel in this case [e.g., the Susman pretrial or trial agreements, available

at http://www.trialbyagreement.com]:

       1) discovery disputes will be resolved with a phone call between lead counsel;

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       2) depositions will be taken by agreement and will be limited in number and length;

       3) the parties will share the same court reporter and videographer;

       4) papers may be served by email on all counsel;

       5) documents will be produced on a rolling basis; and

       6) production does not waive the privilege.

       h.     No party may serve more than 25 interrogatories, including all discrete

subparts, on any other party.

       i.     No more than 5 depositions may be taken by Plaintiff, and no more than 5

depositions may be taken by Claimant. Each deposition must be limited to 4 hours. All

depositions must be governed by the written guidelines that are available on the court’s

website:

      http://www.ksd.uscourts.gov/wp-content/uploads/2015/10/depoguidelines.pdf

       j.     Discovery in this case may be governed by a protective order. If the parties

agree concerning the need for and scope and form of such a protective order, they must

confer and then submit a jointly proposed protective order by January 22, 2022. This

proposed protective order should be drafted in compliance with the guidelines available on

the court’s website:

            Guidelines for Agreed Protective Orders for the District of Kansas

At a minimum, such proposed orders must include a concise but sufficiently specific

recitation of the particular facts in this case that would provide the court with an adequate




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basis upon which to make the required finding of good cause pursuant to Fed. R. Civ. P.

26(c). A pre-approved form of protective order is available on the court’s website:

                http://ksd.uscourts.gov/index.php/forms/?open=CivilForms

If the parties disagree concerning the need for, and/or the scope or form of a protective

order, the party or parties seeking such an order must file an appropriate motion and

supporting memorandum, with the proposed protective order attached, by January 28,

2022.

        k.    The parties do consent to electronic service of disclosures and discovery

requests and responses. See Fed. R. Civ. P. 5(b) and D. Kan. Rules 5.4.2 and 26.3.

        l.    The expense and delay often associated with civil litigation can be

dramatically reduced if the parties and counsel conduct discovery in the “just, speedy, and

inexpensive manner” mandated by Fed. R. Civ. P. 1. Accordingly, the parties are

respectfully reminded that this court plans to strictly enforce the certification requirements

of Fed. R. Civ. P. 26(g). Among other things, Rule 26(g)(1) provides that, by signing a

discovery request, response, or objection, it’s certified as (i) consistent with the applicable

rules and warranted by existing law or by a nonfrivolous argument for extending,

modifying, or reversing existing law, or for establishing new law; (ii) not interposed for

any improper purpose, such as to harass, cause unnecessary delay, or needlessly increase

the cost of litigation; and (iii) neither unreasonable nor unduly burdensome or expensive,

considering the needs of the case, prior discovery in the case, the amount in controversy,

and the importance of the issues at stake in the action. If a certification violates these

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restrictions without substantial justification, under Rule 26(g)(3), the court must impose an

appropriate sanction on the responsible attorney or party, or both; the sanction may include

an order to pay the reasonable expenses, including attorney fees, caused by the violation.

Therefore, before the parties and counsel serve any discovery requests, responses, or

objections in this case, lest they incur sanctions later, the court strongly suggests that they

carefully review the excellent discussion of Rule 26(g) found in Mancia v. Mayflower

Textile Servs. Co., 253 F.R.D. 354 (D. Md. 2008).

3.     Motions.

       a.     Provided that such defenses have been timely preserved, any motions to

dismiss asserting lack of personal jurisdiction, improper venue, insufficient process or

service of process, failure to state a claim upon which relief can be granted, or the propriety

of the parties must be filed by February 4, 2022.

       b.     Any motion for leave to join additional parties or to otherwise amend the

pleadings must be filed by February 11, 2022.

       c.     All other potentially dispositive motions (e.g., motions for summary

judgment), must be filed by June 17, 2022. The Court plans to decide dispositive motions,

to the extent they are timely filed and briefed without any extensions, approximately 60

days before trial.

       d.     Compliance with Fed. R. Civ. P. 56 and D. Kan. Rule 56.1 is mandatory, i.e.,

summary-judgment briefs that fail to comply with these rules may be rejected, resulting in

summary denial of a motion or consideration of a properly supported motion as

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uncontested. Further, the Court strongly encourages the parties to explore submission of

motions on stipulated facts and agreement resolving legal issues that are not subject to a

good-faith dispute. The parties should follow the summary-judgment guidelines available

on the court’s website:

 http://ksd.uscourts.gov/wp-content/uploads/2015/10/Summary-Judgment-Guidelines.pdf

       e.     All motions to exclude testimony of expert witnesses pursuant to Fed. R.

Evid. 702-705, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993),

Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), or similar case law, must be filed by

June 17, 2022.

       f.     If issues remain unresolved after the parties have complied with the “meet

and confer” requirements applicable to discovery-related motions under Fed. R. Civ. P.

37(a)(1) and D. Kan. Rule 37.2, the parties and counsel are strongly encouraged to consider

arranging a telephone conference with the undersigned magistrate judge before filing such

a motion. But such a conference is not mandatory.

       For purposes of complying with the “meet and confer” requirements, the Court

construes the term “confer” to require more than mere email communication. The parties,

in person and/or through counsel, shall have verbal communications with each other; that

is, they must first actually talk with each other about their discovery disputes, and then

contact the Court for a discovery conference, before filing a motion to compel or similarly

related discovery motion.




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        g.    Any motion to compel discovery in compliance with D. Kan. Rules 7.1 and

37.2 must be filed and served within 30 days of the default or service of the response,

answer, or objection that is the subject of the motion, unless the time for filing such a

motion is extended for good cause shown. Otherwise, the objection to the default, response,

answer, or objection is waived. See D. Kan. Rule 37.1(b).

        h.    To avoid the filing of unnecessary motions, the court encourages the parties

to utilize stipulations regarding discovery procedures. However, this does not apply to

extensions of time that interfere with the deadlines to complete all discovery, for the

briefing or hearing of a motion, or for trial. See Fed. R. Civ. P. 29; D. Kan. Rule 6.1(a).

Nor does this apply to modifying the requirements of Fed. R. Civ. P. 26(a)(2) concerning

experts’ reports. See D. Kan. Rule 26.4(c).

        i.    The arguments and authorities section of briefs or memoranda submitted

must not exceed 30 pages, absent an order of the court.

4.      Pretrial Conference, Trial, and Other Matters.

        a.    The parties agree that principles of comparative fault do not apply to this

case.

        b.    Pursuant to Fed. R. Civ. P. 16(e), a pretrial conference is scheduled for June

2, 2022 at 2:00 p.m.; this pretrial conference will be conducted by telephone unless the

judge determines that the proposed pretrial order is not in the appropriate format or that

there are some problems requiring counsel to appear in person. Unless otherwise notified,

the undersigned U.S. Magistrate Judge will conduct the conference. No later than May 26,

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2022, claimant counsel must submit the parties’ proposed pretrial order (formatted in

Word) as an attachment to an e-mail sent to ksd_gale_chambers@ksd.uscourts.gov. The

proposed pretrial order must not be filed with the Clerk’s Office. It must be in the form

available on the court’s website:

                  http://ksd.uscourts.gov/index.php/forms/?open=CivilForms

The parties must affix their signatures to the proposed pretrial order according to the

procedures governing multiple signatures set forth in paragraphs II(C) of the

Administrative Procedures for Filing, Signing, and Verifying Pleadings and Papers by

Electronic Means in Civil Cases.

       c.       The parties expect the jury trial of this case to take approximately 1 trial day.

This case will be tried in Wichita, Kansas. The court will subsequently set the case for trial.

       d.       The parties are not prepared to consent to trial by a U.S. Magistrate Judge at

this time.

       e.       This court, like the Kansas Supreme Court, has formally adopted the Kansas

Bar Association’s Pillars of Professionalism (2012) as aspirational goals to guide lawyers

in their pursuit of civility, professionalism, and service to the public. Counsel are expected

to familiarize themselves with the Pillars of Professionalism and conduct themselves

accordingly when litigating cases in this court. The Pillars of Professionalism are available

on this court’s website:

            http://ksd.uscourts.gov/wp-content/uploads/2018/01/2-15-13-Pillars-of-

Professionalism.pdf

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      This scheduling order will not be modified except by leave of court upon a showing

of good cause.

      IT IS SO ORDERED.

      Dated January 10, 2022, at Wichita, Kansas.

                                        /S KENNETH G. GALE
                                        KENNETH G. GALE,
                                        United States Magistrate Judge




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   SUMMARY OF DEADLINES AND SETTINGS

                                 Event                                 Deadline/Setting
   Plaintiff’s settlement proposal                                  2/11/22
   Claimant’s settlement counter-proposal                           3/4/22
   Jointly filed mediation notice, or confidential settlement       3/18/22
   reports to magistrate judge

   Mediation completed
   ADR report filed by Defendant                                    14 days after mediation
   Supplementation of initial disclosures                           Per rule and 40 days prior to
                                                                    discovery close
   All discovery completed                                          5/20/22
   Experts disclosed by plaintiff                                   2/11/22
   Experts disclosed by claimant                                    2/25/22
   Rebuttal experts disclosed                                       3/18/22
   Physical and mental examinations                                 N/A
   Jointly proposed protective order submitted to court             1/22/22
   Motion and brief in support of proposed protective order (only   1/28/22
   if parties disagree about need for and/or scope of order)

   Motions to dismiss                                               2/4/22
   Motions to amend                                                 2/11/22
   All other potentially dispositive motions (e.g., summary         6/17/22
   judgment) and motions challenging admissibility of expert
   testimony
   Comparative fault identification                                 N/A
   Status conference                                                N/A
   Proposed pretrial order due                                      5/26/22
   Pretrial conference                                              6/2/22 at 2:00 p.m.
   Trial; ETT;                                                      T/B/D (1 day)




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